                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff / Respondent,

 v.                                                          No. 3:21-cr-00264-1

 BRIAN KELSEY,

        Defendant / Movant.



              BRIAN KELSEY’S EMERGENCY MOTION FOR RELEASE
            PENDING DECISION ON HIS MOTION TO VACATE SENTENCE
                         PURSUANT TO 28 U.S.C. § 2255


       Defendant Brian Kelsey hereby moves that the Court immediately order that he remain on

release under his present terms and conditions until thirty days after this motion is decided, and

thereafter, he seeks an order that he remain on release until thirty days after the Court has

considered and ruled on his motion to vacate his sentence pursuant to 28 U.S.C. § 2255. In support

of this motion, Mr. Kelsey states as follows:

       1.      The Court entered judgment on Mr. Kelsey’s criminal conviction on August 16,

2023. (Doc. 155.) Mr. Kelsey appealed the conviction, and this Court granted his release during

the pendency of his appeal. (Doc. 177.)

       2.      The Court of Appeals affirmed, rejecting his appeal because his counsel failed to

object to the government’s breach of the plea agreement, despite ruling that Mr. Kelsey’s

interpretation of the agreement was likely correct. (Doc. 188 at 9-13.) The Court of Appeals stayed




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its mandate while Mr. Kelsey filed a petition for certiorari to the United States Supreme Court.

(Doc. 192.)

        3.      Mr. Kelsey filed his petition for certiorari on November 26, 2024. (S.Ct. No. 24-

590.) The United States Supreme Court denied Mr. Kelsey’s petition for certiorari on January 13,

2025. (Doc. 196.)

        4.      Mr. Kelsey is “in custody” because he is under post-conviction conditions of release

and because he faces imminent incarceration. Lawrence v. 48th District Court, 560 F.3d 475, 479

(6th Cir. 2008); Bradley v. United States, 2016 WL 11468693 (E.D. Mich. 2016).

        5.      Contemporaneously with this motion, Mr. Kelsey has filed a motion to vacate his

conviction under 28 U.S.C. § 2255, and he requests that this Court consider and rule on that motion

prior to ordering him to report to prison.

        6.      To prevail in this emergency motion for release, Mr. Kelsey must show a substantial

claim of law in his motion to vacate and exceptional circumstances. Dotson v. Clark, 900 F.2d 77,

79 (6th Cir. 1990).

        7.      Mr. Kelsey’s most substantial claim of law is that he received ineffective assistance

of counsel at his sentencing hearing when his counsel failed to object to the government’s breach

of the plea agreement. The Court of Appeals held that Mr. Kelsey’s counsel failed to object to the

government’s breach of the plea agreement and that, if he had, Mr. Kelsey’s interpretation of the

agreement likely would have prevailed. (COA Opinion, Doc. 188, at 9-13.) That shows ineffective

assistance of counsel. Because the Court of Appeals ruling is almost conclusive on the matter, Mr.

Kelsey has more than raised a substantial claim of law.

        8.      Mr. Kelsey shows exceptional circumstances by the strength of his argument: it

rests on an appellate opinion that is binding on this Court.



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       9.      A second exceptional circumstance is that Mr. Kelsey has obtained three audio

recordings that he attaches to his memorandum of law, revealing exculpatory information that the

government never disclosed to him. The first is of the government’s self-described “star witness”

Jeremy Durham, who testified against Mr. Kelsey to the Grand Jury. In “Durham Recording 1,”

Durham tells of the government’s coercion of his testimony: “And they were like, ‘No, he was

directing you.’ I’m like, ‘Naw.’” Although Durham told the government that Mr. Kelsey was “the

poster child” of “a rule follower,” who would not do anything he believed to be illegal, the

government began “threatening [Durham] like hard core” that they would prosecute him unless he

changed his story. Ultimately, Durham relented, and he permitted the prosecutors to begin

“feeding” him statements to read to the grand jury about Kelsey that were “not true.” Had Mr.

Kelsey known that Durham’s initial statements to the government actually exonerated him, he

never would have pleaded guilty. But because the government failed to disclose Durham’s initial,

exculpatory statements; the written statements that it drafted for Durham to read to the grand jury

that he refused to sign; and its coercion of his grand jury testimony to conform to those statements,

Mr. Kelsey entered a guilty plea unaware of the evidence in his favor.

       10.     Also, Mr. Kelsey has obtained a second recording of Durham, in which he reiterates

the same testimony, using many of the same words, even though this recording was taken over a

year later. In “Durham Recording 2,” Durham disclaims any requisite criminal intent on the part

of Mr. Kelsey: “You were trying to do what you thought was legally right.” He reiterates that he

told the government—contrary to his grand jury testimony—that Mr. Kelsey never directed him

on what to do with the funds Mr. Kelsey had donated to the Standard Club PAC.

       11.     In addition, Mr. Kelsey has obtained a third audio recording—this one of Joshua

Smith, a co-defendant of Mr. Kelsey. Although Smith pleaded guilty and agreed to testify against



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Mr. Kelsey, he told an associate in a recorded conversation before his guilty plea that he was “under

investigation . . . for something totally unrelated, that I had nothing to do with either.” If Mr. Smith

had nothing to do with illegal conduct, he could not have been an agent for Mr. Kelsey in illegal

activity, as the government contended. The government was aware of this exculpatory evidence,

but it never disclosed it to Mr. Kelsey, who learned of it only after he had pleaded guilty.

        12.    For these reasons and those explained in more detail in the accompanying

Memorandum of Law, the Court should grant Mr. Kelsey’s release, pending a decision on his

motion to vacate his sentence under 28 U.S.C. § 2255. Without such an order, Mr. Kelsey will be

punished despite having been convicted in violation of the Constitution.

        WHEREFORE, Mr. Kelsey respectfully requests that this Court immediately stay the

issuance and/or enforcement of any voluntary surrender date to allow sufficient time for this

emergency motion to be fully briefed and adjudicated. Thereafter, Mr. Kelsey seeks an order

permitting Mr. Kelsey to remain under the same terms and conditions of release imposed by

Magistrate Judge Frensley on November 1, 2021 (Doc. No. 13), as modified by him on January 7,

2022 (Doc. No. 35), until thirty days after the Court rules on Mr. Kelsey’s contemporaneously-

filed motion to vacate his sentence pursuant to 28 U.S.C. § 2255, or further Order of this Court.

                                                       Respectfully submitted,

                                                       /s/ Joy Boyd Longnecker
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                                CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing document has been served through the
CM/ECF system, which will send notice of electronic filing on this 23rd day of January, 2025.

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